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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    DEAN ALLEN STEEVES,                                 Case No.: 21-CV-1265-CAB-MSB
12                                       Plaintiff,
                                                          ORDER DENYING MOTION TO
13    v.                                                  VACATE JUDGMENT
14    DOROTHY NELSON,
                                      Defendant.          [Doc. No. 9]
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17         On September 23, 2021, the Court dismissed this case for lack of subject matter
18   jurisdiction, noting that Plaintiff’s motion/complaint is frivolous and that Plaintiff had not
19   satisfied his burden to establish that this Court has subject matter jurisdiction over his
20   “motion to compel.” Plaintiff now moves to vacate that dismissal. The motion is denied.
21         In his motion, Plaintiff argues the merits of his position with respect to income taxes
22   he allegedly owes. The merits of his underlying claim, however, are irrelevant to whether
23   this Court has subject matter jurisdiction to hear his dispute. Neither the motion/complaint
24   [Doc. No. 1], Plaintiff’s response to the Court’s order to show cause [Doc. No. 6], nor the
25   instant motion provide any basis for this Court to exercise subject matter jurisdiction.
26   Further, the instant motion provides no basis for reconsideration of its dismissal order
27   under either Rule 59(e) or Rule 60(b). See generally Sch. Dist. No. 1J, Multnomah Cty.,
28   Or. v. ACandS, Inc., 5 F.3d 1255, 1262 (9th Cir. 1993) (listing the grounds for

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 1   reconsideration under Rule 59(e) and Rule 60(b)). Accordingly, the motion to vacate is
 2   DENIED, and this case remains CLOSED. Any further filings in this case will be rejected
 3   by the Court.
 4         It is SO ORDERED.
 5   Dated: October 13, 2021
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